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     Fill in this information to identify the case:


 United States Bankruptcy Court for the:


     Southern District of Texas

 Case number (If known):                                       Chapter 15                                                                            Check if this is an
                                                                                                                                                      amended filing




Official Form 401

Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                    12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor's name and case number (if known).




1.     Debtor's name
                                               Geden Holdings, Ltd.



2.     Debtor's unique identifier             For non-individual debtors:


                                                            Federal Employer Identification Number (EIN)      _



                                                      ☐     Other                                       Describe identifier



                                              For individual debtors:


                                                      미     Social Security number:    xxx   -   xх-



                                                            Individual Taxpayer Identification number (ITIN): 9 xx   -   xx


                                                      ☑     Other   C30351                              Describe identifier Malta Company Registration




3.     Name of foreign
       representative(s)                       Dr. Reuben Balzan


4. Foreign proceeding in which
                                               Malta
       appointment of the foreign
       representative(s) occurred

5.     Nature of the foreign
                                              Check one:
       proceeding
                                                      Foreign main proceeding
                                              ☐ Foreign nonmain proceeding
                                              ☑ Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.     Evidence of the foreign                ☑       A certified copy, translated into English, of the decision commencing the foreign proceeding and
       proceeding                                     appointing the foreign representative is attached.

                                              ☐       A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                      proceeding and of the appointment of the foreign representative, is attached.

                                              ☑       Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                      representative is described below, and relevant documentation, translated into English, is attached.
                                                       Declaration of the Foreign Representative Pursuant to section 1515 of the
                                                       Bankruptcy Code and Rule 1007(a)(4) of the Bankruptcy Rules


7.     Is this the only foreign               0       No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
       proceeding with respect to                     debtor is pending.)
       the debtor known to the
                                              Π       Yes
       foreign representative(s)?




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Debtor          Geden Holdings, Ltd.                                                             Case number (if known)




8.   Others entitled to notice         Attach a list containing the names and addresses of:

                                       (i)     all persons or bodies authorized to administer foreign proceedings of the debtor,

                                       (ii)    all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                               petition, and

                                       (iii)   all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.



9.   Addresses                         Country where the debtor has the center of its                    Debtor's registered office:
                                       main interests:



                                       Malta                                                              No. 4 Saint Andrews Street. VLT 1341
                                                                                                         Number           Street




                                                                                                         P.O. Box


                                                                                                          Valletta
                                                                                                         City               State/Province/Region   ZIP/Postal Code



                                                                                                          Malta
                                                                                                         Country




                                       Individual debtor's habitual residence:                           Address of foreign representative(s):



                                                                                                           No. 4 Saint Andrews Street. VLT 1341
                                        Number         Street                                             Number          Street




                                        P.O. Box                                                          P.O. Box


                                                                                                           Valletta
                                       City               State/Province/Region    ZIP/Postal Code       City               State/Province/Region   ZIP/Postal Code


                                                                                                           Malta
                                       Country                                                            Country




10. Debtor's website (URL)




                                        Check one:
11. Type of debtor

                                               Non-individual (check one):

                                                 ☑    Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                      Partnership

                                                       Other. Specify:

                                        ☐Individual




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                                                   Schedule 1

                                          Geden Holdings, Ltd
                                     Corporate Ownership Statement

Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:1

                   Shareholder                              Approximate Percentage of Shares Held
    Buselten Finance, S.A.                                 99.9%




1
  Information as of June 8, 2012. Note that due to the Foreign Representative’s lack of information from the debtor,
this information is being provided upon information and belief.
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                                           Schedule 2

                                     Geden Holdings, Ltd.

Pursuant to rule 1007(a)(1)(B) of the Federal Rules of Bankruptcy Procedure, the following are all
persons or bodies authorized to administer foreign proceedings of the Debtor:

                  Authority                                          Contact
 Dr. Reuben Balzan                                Dr. Reuben Balzan
 (Foreign Representative – Maltese Court          Valletta Legal
 Appointed Liquidator of the Debtor               No. 4 Saint Andrews Street, VLT 1341
                                                  Valetta
                                                  Malta




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                                          Schedule 3

                              Statement of Foreign Proceedings

Pursuant to 11 U.S.C. 1515(c), the only known foreign proceeding relating to Geden is the court
ordered liquidation in Malta before the First Hall of the Civil Court.




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                                     EXHIBIT A




4930-9512-5563, v. 2
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                               QORTI CIVILI PRIM’ AWLA

                        ONOR. IMHALLEF MARK CHETCUTI LL.D.

                           lilum il-Hamis, 15 ta' Gunju, 2017                                \
                                                                        Vera kopja   ta’ l-Original
Numru 8                                                                         pee.
                                                                                 PL.Carina       Abdilla
Rikors Nru. 810/2016                                                            Deputgt Regjstratur
                                                                                LL |e]2?
                                                                                    #
            Samsung   C&T Deutschland and GMBH, socjeta estera registrata              4
                  fil-Germanja bin-numru ufficjali HRB 4631, bl-indirizz               Y
                registrat Am Kronberger Hang 6, 65824, Schwaibach am                 Hi
             Taunus, Germanja, rappresentata hawn Malta mill-mandatarju                                    P
                     specjali taghha !-Avukat Louis Cassar Pullicino

                                             vs

                                Geden Holdings Limited

il-Qorti,


Rat ir-rikors tal-attrici tas-16 ta’ Settembru, 2016 li jghid hekk:
ili s-socjeta intimata Geden Holdings Limited (“Geden") hija socjeta {i giet registata
hawn Malta f£1-14 ta' Ottubru 2002; b'risoluzzjoni datata 27 ta’ Dicembru 2010 I-
azzjonisti ta’ Geden ftehmu ii jillimtaw |-iskop li ghaliha twaqaqfet !-imsemmija socjeta
ghal dawk |-attivitajiet elenkati fl-artikolu 84z(1) tal-Att Dwar il-Bastimenti Merkantili
(Kap. 234 tal-Ligijiet ta' Malta). Bhala rizuitat ta' dan u b'effett mis-7 ta’ Jannar 2011
Geden kienet regolata mid-disposizzjonijiet u regolamenti li jinsabu fl-Avviz Legali
223 tal-2004 - Merchant Shipping (Shipping Organisations - Private Companies)
Regulations 2004 u ghalhekk tikkwalifika bhala “shipping organsiation" ai termini tal-
artikolu 84z tal-Kap. 234;

lili |-attivita principali ta’ Geden hi dik {i takkwista u tiskrivi fisimha ishma f'divers'
socjetajiet sussiddjarji taghha, liema sussiddjarji joperaw bastimenti fis-suq marittimu
internazzjonali kemm billi jinnolleggjaw bastimenti li jappartienu lilhom kif ukolili jikru
i, jinnolleggjaw bastimenti minghand terzi u dan sabiex igorru u jittrasportaw prodotti
taz-zejt kif ukoll merkanijza ohra (dry cargo); Geden ghandha ukoll il-funzjoni fi
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Rtk 810/2016MC                                                             Samsung vs   Geden




tagixxi bhala t-tezorier tal-kumpanniji fil-grupp u li taghhom hija |-parent company u
dan billi tissellef flus minn banek u istituzzjonijiet finanzjarji biex imbaghad tislef u
tiffinanzja lis-sussiddjarji taghha mill-flus li takkwista permezz ta‘ dawn il-facilitajiet
bankarji;

Illi s-socjeta rikorrenti Samsung C&T Deutschland GMBH (“Samsung Deutschland")
hija kreditur ta' Geden fis-somma komplessiva ta' sbatax-il miljun u disa' telef seba’
mija u tmienja u disghin dollar Amerikan (US$17,009,798.00);

tli dan il-kreditu origina kif ser jinghad u cioe:-
i. Samsung Deutschland kienet innolleggjat favur taghha permezz ta' bareboat
charter minghand terzi numru ta’ bastimenti u cioe m.v. Capital, m.v. World, m.v.
Secret u m.v. Sharp u li da parti taghha imbaghad ikkoncediet {-istess bastimenti
permezz ta’ sub bareboat charter a favur ta’ diversi sussiddjarji ta’ Geden u |-obbligi
assunti talvolta minghand dawn il-kumpanniji sussiddjarji ta’ Geden gew garantiti
solidalment minnha stess permezz ta' Corporate Guarantee:
ii, Jirrizulta illi dawn is-sussiddjarji ta’ Geden bdew jiffaccjaw problem finanzjarii fi-
operat ta’ dawn il-bastimenti ;
iii. Iti sallum hemm ammonti sostanzjali dovuti lil Samsung Deutschland minghand
dawn I-entitajiet sussidjarji ta’ Geden in konessjoni man-nollegg ossia sub bareboat
charter ta' dawn _ ilbastimenti bil-konsegwenza illi Geden            hija respcnsabbli
solidalment ma’ dawn |-entitajiet bhala garanti a tenur tal-obbligi assunti minnha a
tenur tal-imsemmija Corporate Guarantee;

Illi permezz ta’ ittra datata 5 ta’ Lulju 2016 Samsung Deutschiand talbet formaiment
minghand Geden il-hlas tal-ammonti dovuti a tenur tal-garanzija izda sallum |-ebda
pagament ma sar u wisq angas saret xi proposta da parti ta' Geden            dwar xi skema
ta’ pagamenti jew xi soluzzjoni alternattiva sabiex jigi saldat id-dejn sostanzjali favur
Samsyhg Deutschland;

 Ni airs Geden hija insolventi ghaliex mhijiex fqaghda fi thallas id-djun taghha;
dan #-fatt jafuh jew imisshom jafuh id-diretturi ta’ Geden. Samsung Deutschland
sarefftaf illi ricentement u ad insaputa taghha diversi entitajiet sussiddjarji ta’ Geden
bieghu u ttrasferew numru ta’ bastimenti fil-patrimonju taghhom b'valuri sostanzijaii.
Skont ma jirrizulta mill-anness affidavit ta' Heon Joong Jung jirrizulta bic-car il-
qaghda finanzjarja hazina ta’ Geden u |-inabilita taghha |i thallas id-dejn kif anke
ammess minn ufficjali ta' Geden stess filwaqt li |-Consolidated Financial Statemenis
ta' Geden u tas-sussiddjarji. taghha jikkonfermaw li I-passiv jecceddi |-valur tal-assi u
li |-grupp ilu ghal dawn I-abhar snin igarrab telf finanazjarji qawwi u sostanzjali:

Ghar-ragunijiet kollna premessi s-socjeta rikorrenti titlob li dina |-Onorabbli Qorti:

1. Tiddikjara u tiddeciedi illi s-socjeta intimata Geden Holdings Limited mhijiex
fqaghda li thallas d-djun taghha u konsegwentement tordna ix-xjoljiment u stralc
konsegwenzjali tal-istess socjeta intimata a tenur tar-Regoiament 99(2) (a) u 4(b) tal-
Merchant Shipping (Shipping Organisations - Private Companies) Regulations 2004
(Avviz Legali 223 tal-2004); u

2. Taghti kull provvediment opportun sabiex jinhatar |-istralcjarju u jigi kondott I-istralc
konsegwenzjali skond id-disposizzjonijiet u regolamenti tal-Merchant Shipping
                                                                                            2
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                                                                                          Samsung vs Geden


      (Shipping Organisations - Private Companie
                                                 s)                Regulations 2004 (Awiz Legali 223
      tal-2004.

      BI- ispejjez.

       Rat ir-risposta tas-socjeta konvenuta |i tghid
                                                          hekk:
       1. Illi preliminarjament fil-fehma umii tal-
                                                      esponenti s-socjeta rikorrenti ma ghandiex
       id-dritt jew il-fakulta li tintavola dawn i-pr
                                                      oceduri odjerni fdan l-istadju stante illli ma
      tidhirx li tikkwalifika bhala persuna li tista'
                                                       tipprezenta rikors ghall-istraic ai termini ta’
      dispozizzjonijiet tar-Regolamenti dwar Bast
                                                        imenti Merkantili (Organizzazzjonijiet ta’
      Bastimenti - Kumpaniji Privati), legislazzjon
                                                       i Sussidjaraja 234.42 tal-Ligijiet ta’ Malta,
      u dan ghas-segwenti ragunijiet:

   a) Illi Regolament 100 taListess S.L. 234.
                                                    42 jelenka specifikament liema persuni
   ghandhom il-jedd li jintavolaw rikors ghall
                                                     -istralc ta’ socjeta |i tikkwalikifa bhala
   “shipping organisation" ai termini ta’ artikolu
                                                      84Z tal-Att dwar il-Bastimenti Merkantili,
   Kapitolu 234 tal-Ligijiet ta’ Malta. Ghal
                                                  kull buon fini dan ir-regolament qed jig:
   riprodott hawn taht:
   "An application to the court (hereinfter refe
                                                 rred to as the “winding up application”,) for
  the winding up of a company shall be made
                                                       by means of an application which may
  be made either by the company or by
                                               any of its members or directors, or by
  creditor having a debt due and unpaid                                                      any
                                              in excess of twenty-three thousand and
  hundred and ninety-three euros and seve                                                    two
                                               nty-three cents (23,293.73) or by all or
  of them together or separately."                                                          any

  b) Itli ghaihekk hawnhekk i-ligi tipprovdi
                                                 li sabiex allegat kreditur jipprezenta rikor
 ghall-istralc ta’ shipping organisation bilfo                                                s
                                               rs irrid ikoliu dejn dovut ta! mhux angas mill-
 ammoptt Stipulat fl-istess regolament.
         &
 c) Wi fil-fenma umli tal-esponenti sabiex
                                                 |-kreditu tas-socjeta rikorrenti jkun megjus
 bhal@ dovut s'intendi li dan [-istess aliegat
                                                  dejn irrid jigi kkanonizzat jew ippronunzjat
 gurigikament bhala ammont dovut lill-istes
                                                s rikorrenti mis-socjeta intimata.
 d)     li    tajjeb    li hawnhekk     wiehed    jaghmel     paragun_    ukoll    mad-disposizzjonijiet
 korrispondenti         taht   |-Att dwar   il-Kumpaniji,   Kap.   384   tal-Ligijiet
                                                                             ta’ Matta fein il-
legislattur jaghti I-jedd ghat-talba tal-istralc
                                                 fil-kuntest ta' socjetajiet Maltin ohra {ii kul
“kreditur jew kredituri" tas-socjeta intimata.

 €) Illi shipping organisations huma sogge
                                                 tti ghar-regim separat u regoli differenti
 minn kumpaniji Maltin ohrajn u jidher car
                                                Ii |-iskop tal-legislattur hawnhekk huwa biex
 jaghti dawn s-shipping organisations diver
                                               si protezzjonijiet ulterjuri u vantagg! fiskali.
f) Uli fil-kuntest tar-rekwiziti mehtiega ghal
                                                  l-proceduri ghall-istraic, dawk relatati ma’
shipping organisations jidhru !i huma akta
                                               r oneruzi minn dawn ta' kumpaniji ohra
sens li I-ligi tisspecifika li fil-kaz ta’ ship                                              fis-
                                                ping organisation kreditur irrid ikoilu dejn
dovut sabiex jipprocedi u ghaidagstant
                                             il-kreditu in kwistjoni jrid jigi kkonfermat
gorti jew tribunal kompetenti. Ghalhekk                                                    mill-
                                              dina |-Onorabbli Qorti ma ghandiex tmex
semplicement fuq bazi prima facie                                                            xi
                                             ghaliex idejha marbuta mill-ligi.
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g) Inoltre, jinghad fi I-allegat pretenzjonijet tas-socjeta rikorrenti Samsung C&T
Deutschland GMBH li abbazi taghhom is-socjeta rikorrenti geghda taghmel t-talbiet
taghha huma naxxenti minn erbgha (4) garanziji (Corporate Gaurantees) li iffirmat is-
socjeta intimata fir-rigward |-obbligi ta’ erbgha (4) entitajiet ohra taht erbgha (4)
bareboat charterparties li ikkonkludew mas-socjeta rikorrenti.

h) Nonostante li kemm il-bareboat charterparties kif ukoll |-Corporate Gaurantees
huma kollha soggetti ghal kiawzoli ta’ arbitragg li jirreferu |-partijiet ghal proceduri ta’
arbitragg gewwa Londra, is-socjeta rikorrenti naqqset milli tipprocedi kontra |-
nolleggaturi u/jew kontra s-socjeta intimata ghall-irkuprar tal-allegat djun dovut lilha
quddiem il-forum kompetenti u minflok qgeghda immedjatament titlob !-istralc tas-
socjeta intimata.

i) lili t-talba ghax-xoljiment ghall-istralc ta’ kumpannija hija mizura ta’ natura
eccezzjonali li ghandha tigi ntavalota biss bhala |-ahhar rimedju u ghaihekk dawn |-
proceduri odjerni ma ghandhom QATT jissostitwixxu r-rimedji ordinarji ti ghandhom
kreditur/i sabiex jirkurpra/w kwalunkwe allegat djun dovut lil/lilhom.

2. In ogni caso din il-Qorti trid tivverifika li l-allegat pretenzjonijiet tas-socjeta
rikorrenti mhumiex preskritti taht il-ligi Ingliza I-ligi applikabbli partikolarment meia I-
underling debt huwa lI-hlas ghal-kiri tal-bastiment u skond                  il-ligi nostrana
(specifikament artikolu 2148(f) ta’ Kapitolu 16) azzjoni simili quddiem il-Qrati Maltin
possibilment tista’ tkun meqjusa bhala preskritta.

3. Illi inoltre jinghad li jekk dina Onorabbli Qorti tiddeciedi sabiex tipprocedi bis-smigh
tal-kawza (qabel is-socjeta rikorrenti ma tigi kkonfermata bhala kreditrici mit-tribunal
kompetenti tal-arbitragg), hemm perikolu reali u konkret li s-socjeta intimata kif ukoll
kwalunkwe kreditur iehor jistghu jigu pregudikati serjament stante illi |-mertu tal-
allegat foretenzioniiet tas-socjeta rikorrenti gqatt ma huma ser jigu ezaminati u
skrutiy zati quddiem gorti jew tribunal kompetenti.

4. ilikdato ma non concesso li dina |-Onorabbli Qorti tordna li s-socjeta rikorrenti
ghantha d-dritt li tintavola r-rikors promotur, xorta wahda ghandha tezamina |-provi
tas-socjeta rikorrenti u [-valur probatorju tal-imsemmi provi, partikolarment in vista
tal-fatt li dawn il-proceduri ma nfethux permess ta’ rikors guramentat.

5. ili bla pregudizzju, qed jigi sottomess li din |-Onorabbli Qorti ghandha I-poter
diskrezzjonali biex tordna |-istraic tas-socjeta intimata, u dan in vista tar-Regolament
99(2)(a) tal-S.L. 234.42, fejn il-ligi tghid espressament "a company may be dissolved
and wound up by the Court ..." (emfazi tas-socjeta esponenti) u ghaidaqstant ma
ghandiex tilqa’ t-talbiet attrici sakemm ma hiex assolutament certa li s-socjeta
intimata qeghda fi stadju li ma tistax thallas id-djun taghha.

6. Illi minghajr pregudizzju ghas-suespost, jinghad li peress allegat kreditu tas-
socjeta rikorrenti mhuwiex kanonizzat, dina |-Onorabbli Qorti ma ghandiex tkompli
b‘dawn il-proceduri sakemm ikun hemm decizjoni finali ta’ arbitragg li tikkonferma {i
s-socjeta rikorrenti hija kreditrici tas-socjeta intimat a u dan inter alia ai termini tal-
artikolu 742(3) ta’ Kapitolu 12 u artikolu 8 ta’ Konvenzjoni tan-Nazzjonijiet Uniti dwar
|-Gharfien u I-Ezekuzzjoni ta’ Decizjonijiet ta’ Arbitragg Barranin (New York 1958)
fost ohrajn.
                                                                                              4
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7. Iti fil-fenhma-‘umli tal-esponenti, dina |-Onorabbli Qorti ma ghandiex tidhol fil-mertu
jew taghmel ebda ezami tal-allegat pretenzjonijiet tas-socjeta rikorrenti fil-konfront
tas-socjeta intimata ghaliex dawn jibqa’ kwistjonijiet li huma soggetti ghall-ftehim ta’
arbitragg.

8. {li ghalhekk kontestwaiment ma‘ din ir-risposta s-socjeta intimata qeghda
tipprezenta wkoll rikors ghas-soprasessjoni u/jew sospensjoni tal-dawn il-proceduri
odjerni, pendenti |-ezitu finali tal-proceduri ta’ arbitragg li s-socjeta rikorrenti ghandha
tiftah kontra s-socjeta intimata.

Rat !-atti u semghet lid-difensuri tal-partijiet;


Rat |i |-kawza thalliet ghal provvediment.


ikkunsidrat


Din hi kawza bazata fug I-artikoli 99(2)(a) u 99(4)(b) tal-Merchant Shipping (Shipping
Organisations — Private Companies) Regulations 2004 (Awviz Legali 223/2004).


is-socjeta attrici qed titlob li s-socjeta konvenuta,               debitrici tas-socjeta             attrici mhix
f'pozizzjoni li thallas id-djun taghha u ghalhekk qed jintalab |-istralc tal-imsemmija
socjetaiu        ghal dan Liskop jinhatar stralcjarju.


L_- artikoli ritevanti tal-ligi in kwistjoni jghidu hekk
    99(2)(a)       a company may be dissolved and wound                 up by the Court when the
    company is unable to pay its debts;

    99(4)(b) if it is proved to the satisfaction of the court that the company is
    unable to pay its debts, account being taken also of contingent and
    prospective liabilities of the company.

A bazi ta’ dawn I-artikoli s-socjeta attrici qed tallega li hi ghandha kreditu kontra s-
socjeta konvenuta u a bazi tad-dritt moghti bl-artikolu 100 tal-istess Avviz Legali qed
titlob qua        kreditrici li s-socjeta    konvenuta   titpogga fi procedura           ta’ strac.     L-artikolu
100 tal- Awiz Legali 223/2004 jghid hekk:
    An      application     to the   court    (hereinafter   referred    to   as   the    “winding        up
    application”) for the winding up of a company shall be made by means of an
    application which may be made either by the company or by any of its
    members or directors, or by any creditor having a debt due and unpaid in
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   excess of ten thousand                    Maltese liri or by all or any of them                       together or
   separately. .

Hi t-fehma tal-Qorti illi kuntrarjament ghal dak sottomess mis-socjeta konvenuta, il-
kreditur ma ghandux bzonn igib prova ta’ kreditu kanonizzat dovut lilu mis-socjeta
kovenuta biex jippromuovi din l-azzjoni a bazi tal-artikolu 99(2)(a) u 99(4(b). !I-ligi ma
tiesigix li I-kreditur juri titolu ezekuttiv ghal tali kreditu izda |i jidher li hu kreditu dovut
fil-mument li qed issir !-azzjoni u li mhux imhallas. |!-Qorti trid tkun sodisfatta li jezisti
tali kreditu         u mhux semplicement pretensjoni ta’ kreditu liema kreditu ma jirizulta
minn imkien hlief mill-allegazzjoni u pretensjoni tal-allegat kreditur. {l-prova ta’ kreditu
ti tirrizulta Til Qorti taghti |-interess guridiku li jressaq din |-azzjoni intiza primarjament
biex il-kreditur jipprotegi I-kreditu tieghu kontra !-assi li hemm                                 tad-debitur li hu jqis
mhux f’pozizzjoni li jonora d-debitu. Dan ged jinghad peress illi f'din i!-procedura ma
jigix kanonizzat il-kreditu jew jsir xi ordni ta’ hlas izda |i d-debitur jitpogga fi stat ta’
‘winding          up’.    II-krediti    realment      dovuti        jitqiesu   fil-istadju    ulterjuri       mhix     fin     il
procedura. Dan hu il-principju hi msejsa I-ligi Ingliza fkaz ta’ talba ghal likwidazzjoni
ta’ kumpanija. F’Mann vs Goldstein (1968 IWLR 1091) jintqal hekk:
    The incorporated: hairdressing and wig business of two married couples
    broke down in acrimony. Goldstein and his company petitioned for winding
    up claiming unpaid directors fees and payment for a wig delivery, but Mann
    arguéd that Godistein had recieved the fees through ad hoc payments and
    another company owed money for the wigs. Ungoed Thomas J. argued the
    winging up petition was not the place to decide the debt actually existed and
    it would be an abuse of process to continue.

       9
Qabel       mal-Qorti         tqis     it-talba   attrici,   trid    ghalhekk      fl-ewwel        lok    tikkunsidra        jekk
tressqux          provi    li juru     li s-socjeta      attrici ghandha          kreditu     fil-konfront        tas-socjeta
konvenuta. !I-Qorti rat |-atti u dokumenti esebiti u tasal gha! konkluzjoni |! din il-prova
saret u tissupera bil-bosta I-bazi ta’ kreditu €23,293.73 li ghalih kreditur jista’ jaghme!
it-taloa odjerna. Jidher mill-atti illi s-socjeta konvenuta kienet garant! solidali ghal
diversi sussidjarji tal-istess socjeta, u li Lammonti dovuti lis-socjeta attrici minn dawn
is-sussudjarji            baqghu        mhux      imhallsa.         Id-dokumenti       rilevanti         huma_     |-corporate
guarantees (Dok. LCP3A                     sa LCP3D)          u d-demand         letter tal-5 ta’ Lulju 2076 (Dok.
LCP5).       Is-socjeta attrici esebiet rendikont tal-ammont dovut (Dok.                                    LCP4).      In oltre
esebit korrispondenza elettronika fejn is-socjeta konvenuta tirreferi ghal sitwazzjoni
finanzjarja xejn felici fejn jikkoncerna hiasijiet (ara fdan is-sens fol. 76, 85 u 93 tal-

                                                                                                                                    6
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process). Is-socjeta konvenuta mkien ma tinnega li hemm debitu dovut hu kemm                         hu
l-ammont anzi lanqas hu kontestat.


Fid-dawi ta’ dan kollu hi |-fehma tal-Qorti illi s-socjeta attrici uriet li hi ghandha kreditu
ta’ ammont sostanzjali kontra s-socjeta konvenuta.


Is-socjeta attrici trid ukoil tipprova li s-socjeta konvenuta mhix fpozizzjoni |i thallas id-
debitu taghha.     In tema   legali din il-Qorti tiehu spunt minn        dak   li jghid     |-artikolu
214(5)(b) tal-Kap. 386 dwar xoljiment ta’ kumpaniji identiku ghali-artikolu 99(4)(b) tal-
Avviz Legali 223/2004:
   jekk ikun ippruvat ghas-sodisfazzjon tal-gorti li -kumpannija ma tkunx tista’
   thallas id-djun taghha, meta din tqis ukoll il-passiv kontingenti u prospettiv
   tal-kumpannija.

Fil-kawza CMV S.p.a. vs Vittoriosa Gaming            Ltd et, (PA 28/02/2017, JZM) i!-@orti
dahlet fdettal dwar it-tifsira li gnandha tinghata lil dan |-artikolu:
   Fil-Pag 114 tar-Raba’ Edizzjoni (2011) ta’ Principles of Corporate Insolvency
   Law (Sweet & Maxwell) Roy Goode ighid hekk —
   The idea underlying this test ... is that it is not sufficient for the company to
   be able to meet its current obligations if its total liabilities can ultimately be
   met only by the realisation of its assets and        these   are insufficient for the
   purpose ...

   Fil-Pag 130 ikompli hekk —
   The mere excess of liabilities over assets is not in itself determinative. What
   has to be shown is that by reason of the deficiency of its assets the company
   has reached the point of no return.

   Fil-Pag 134 sa 136, lawtur jittratta n-nozzjoni ta’ contingent liability u ighid
   hekk —
   To give the phrase “contingent fiability” any meaning we must restrict it to a
   liability or other loss which arises out of an existing legal obligation or state
   of affairs but which is dependent on the happening of an event which may or
   may not occur. Many of the cases have stressed the need for the liability to
   arise out of an existing obligation.
     .. In considering whether there is a contingent liability the court has regard
   to the existing commercial situation, not erely an existing legal obligation. In
   this regard, assistance can be derived from Financial Reporting Standard 12
   which defines a contingent liability in the following terms :
   (a) “A possible obligation that arises from past events and whose existence
   will be confirmed only by the occurrence or non-occurrence of one or more
   uncertain future events not wholly within the entity's control ; or
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     (b) a present obligation that arises from past events but is not recognised
     because:
     (i) it is not probable that a transfer of economic benefits will be required to
     settle the obligation ; or
     (ii) the amount of the obligation cannot be measured with sufficient
     reliability.”
     ... the term “contingent liabilities” is ultimately not a term of art and its
     precise meaning will depend on its context. The court is thus entitled to have
     regard to commercial realities ...

     Fil-Pag 136 u 137, |-awtur jittratta n-nozzjoni ta’ prospective liability u jghid
     hekk —
     ... The phrase “prospective liability” is neither a legal nor an accounting term
     of art. It has been judicially defined as : “ ... a debt which will certainly
     become due in the future, either on some date which has already been
     determined or some date determinable by reference to future events.”
      .. it has been described ... as unmatured liability which will inevitably ripen
     into a debt with the passage of time. Such a definition encompasses all,
     forms of debitum in praesenti, solvendum in futuro including an indisputable
     claim for unliquidated damages which remains only to be quantified and will
     result in a debt far more than a nominal amount. “Prospective liability” thus 5
     embraces both future debts, the sense of liquidated sums due, and
     unliquidated claims.

    Dwar I-Art 214(5)(b) din il-Qorti diversament presjeduta (PA/GV) fid-decizjoni
    taghha tat-28 ta’ Mejju 2003 fil-kawza “Axel John International AB vs
    Aluminium Extrusions Limited” qalet hekk —
    Din il-kondizzjoni tista’ tigi verifikata permezz tal-balance sheets wara {i jigi
    kunsidrat jekk l-assets are less than its liabilities. Izda ... it is not sufficient for
    the company to be able to meet its current obligations if its total liabilities can
    ultimately be met only by the realisation of its assets over a lengthy period
    (Re: European Life Assurance Society 1869 LR 9 Eq 122).
    Ghalhekk ma hemmx raguni ghaliex il-kredituri ghandhom joqghodu
    jistennew sakemm il-kumpannija tbiegh |-assets taghha biex forsi xi darba
    jithallsu.
                                                                                               ~~



Applikati dawn il-principji ghal fatti, il-Qorti tqis ili tali prova trid issir fl-ewwel fok mill-
parti li qed tallegah. ts-socjeta attrici ipprezentat il-consolidated financial statements
tal-kumpanija Geden ghas-snin 2012 sal-2015. Fl-2014 u 2015 hemm                      stampa griza
tal-finanzi tas-socjeta Geden fejn jirrizulta illi t-telf ghal perjodu Jannar sa Dicembru
2015 kien ta’ USD194,173,929 kontra assi ta’ USD124,946.87.                 |I-Qorti tgis fi din il-
prova     turi illi s-socjeta   konvenuta   qua   garanti   solidali ghad-debitu     tas-sussidjasji
taghha mhix fpozizzjoni li tonora I-hlas ghax ma ghandhiex assi likwidi jew aliegh
mill-operazzjonijiet li jaghmiu tajjeb ghal dan |-iskop.
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 Darba li s-socjeta attrici tat stampa tal-pozizzjoni finanzjarja tas-socjeta attrici, sta
 ghas-socjeta konvenuta li turi li l-qaghda finanzjarja taghha hi tali li tista’ tkomoli
 topera u thailas id-debitu taghha kemm lejn is-socjeta attrici u kredituri ohra taghha.
 Sfortunatament, nonostante |i s-socjeta konvenuta nghatat !-opportunita biex tressaq
 il-provi taghha,       dan    ma    sarx u ma          ngiebet ebda       prova   mis-socjeta      konvenuta            |i
 tikkontrasta dak migjub bhala prova tal-qaghda finanzjarja mis-socjeta attrici.


ll-Qorti konxja illi stralc ta’ socjeta bhala rimedju hi wahda ta’ natura eccezzjonali u
ghandha titqies b’kawtela kbira u ghalhekk |-artikolu 99(2)(b) jaghti lil Qorti d-
diskrezzjoni jekk tikkonsidrax jew le tali talba. Pero fidan il-kaz il-provi ma jaghtux
ghazla lil Qorti, tenut kont tal-istat finanzjarju prekarju tas-socjeta konvenuta |i langas
ippruvat tikkuntrasta |-provi migjuba kontriha. Owjament din il-Qorti mhix tikkonsidra
-kreditu tas-socjeta attrici bhala wiehed kanonizzat. Il-procedura ghal dan |-iskdp  hi
diversa. Il-procedura odjerna hi immirata biss biex jinbeda I-process tal-istrai¢?tas-
socjeta konvenuta u preservazzjoni tal-assi tal-istess socjeta kemm                            ghal kredfturi u
kemm ghaill-azzjonisti nfushom.


l-Qorti     tqis bhala        mhux   fondat         |-eccezzjoni    tas-socjeta    intimata    illi |-ftehim      tal-
garanzija        tas-socjeta     intimata      hi     soggetta      ghall-arbitragg      fLondra.       |i-kwistjoni
guddiem       ilQorti    ma     tirrigwardax         il-garanzija   izda   |-kapacita     tas-socjeta        intimata
registrata f'Malta li thallas id-djun kolpiti bil-garanzija.


Bhala gheluq din il-Qorti gia esprimiet ruhha fuq it-talba ghal soprasessjoni b’digriet
tal-11 ta’ Jannar 2017.                                                                                  -


Decide


Ghalhekk il-Qorti taqta’ u tiddeciedi billi tilqa’ t-talbiet attrici u tiddikjara li s-socjeta
konvenuta        mhix fpozizzjoni li thallas id-djun taghha u tordna                    li jibda |-procedirment
ghax-xoljiment u stralc tal-istess socjeta                   konvenuta      a tenur tal-artikoli 99(2)(a)           u
99(4)(b) tal-Awiz Legali 23/2004.
Tordna li jigi nominat Paul Darmanin bhala straicjarju bid-drittijiet u obbligi kollha ai
termini tal-artikoli 107 sa 116 tal-Avizz Legali 223/2004. Spejjez, inkluzi d-drittijiet u |-

                                                                                                                    9
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                                                                                                                                    3893
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ispejjez        tal-istralcjarju,   kif   ukoll   l-ispejjez   kollha         tal-istralc        jithallsu          mis-socjeta
intimata.
Tordna lir-Registratur tal-Qorti jipghat kopja ta’ dan il-provvediment lir-Registratur tal-
Bastimenti u lir-Registratur tal-Kumpaniji.




           -                                                        ie        VR.        ‘

 Alot                                                               |
Onor. Mark Chetcuti LL.D.                                               owt mh.   tute
                                                                                             -     ate      its



     of.
Imhallef




Anne Xuereb

Deputat Registratur




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                                 ae                                                   Page | 1




                            THE FIRST HALL OF THE CIVIL COURTS

                            Onor. Judge Mark Chetcuti LL.D.

                            Today, Thursday, 15", June, 2017



Number 8

Application Number:- 810/2016



                           Samsung C&T Deutschland GMBH,
                          foreign company registered in Germany
                            with registration number HRB 4631,
                  with registered address at Am Kronberger Hang 6, 65824,
                              Schwalbach am Taunus, Germany,
                      here in Malta represented by its special mandator
                  Advocate Louis Cassar Pullicino (ID Card No. 441061(M))

                                             VS




                            Geden Holdings Limited (C 30351)




The Court;



Having seen the application of plaintiff of the 16". September 2016 which states as
follows :-
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That the defendant company Geden Holdings Limited (“Geden’) is a company registered in
Malta on 14" October 2002; by means of a shareholders resolution dated 27 December
                                                                                             Page | 2
2010 it was resolved to limit the objects of the company to the ones mentioned under article
842(1) of the Merchants Shipping Act (Cap. 234 of the Laws of Malta). As a consequence
of this and with effect from 7 January 2011 Geden was subject to the provisions and rules
of Legal Notice 223/2004 ~ Merchant Shipping (Shipping Organizations -— Private
Companies) Regulations 2004 and so it qualifies as a “shipping organization” in accordance
with article 84z of Chapter 234;

The principal activity of the Geden is the purchase and subscription of shares into its
subsidiary companies which operate ships in the international shipping market through the
chartering of vessels in their ownership or that of other third parties in order to carry oil
products and other type of cargo (dry cargo); Geden also acts as a treasurer of the
companies within the group for which it acts as a parent company and does this by borrowing
money from banks and financial institution in order to lend same to and finance its
subsidiaries;

That the plaintiff company Samsung C&T Deutschland GMBH (“Samsung Deutschland”)
is the creditor of Geden in the total amount of USD 17,009,798.00 (seventeen million and
nine thousand and seven hundred and ninety eight United States of America Dollars);

That this credit originates as described below:

   i.    Samsung Deutschland chartered in its favour from third parties through a bareboat
         charter agreement a number of vessels that are the m.v. Capital, m.v. World, m.v.
         Secret   and   m.v.   Sharp   which   were   in turn   sub-bareboat   chartered   in favour of
         different subsidiaries of Geden; the latter guaranteed in solidum the obligations of its
         subsidiaries by means of a Corporate Guarantee in favour of the plaintiff company;

  ii.    It results that these subsidiary companies of Geden faced financial problems arising
         from the operation of these vessels;

 iii.   | That up to date, and in connection with the bareboat charter or sub-bareboat charter
          of these vessel, there is a substantial amount due to Samsung Deutschland from
          these subsidiary entities of Geden with the consequence that Geden is responsible
          in solidum with these entities as Guarantor and on the basis of the obligations arising
          from the Corporate Guarantee.

That through the letter dated 5" of July 2016 Samsung Deutschland formally asked Geden
to pay the amounts due on the basis of the guarantee; notwithstanding this no payment was
made and Geden did not make any proposal in relation to a scheme of payment or
alternative solution so that the substantial debt in favour of Samsung Deutschland is paid;
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For this reason and since it is not in a position to pay its debts Geden is insolvent; these
facts are known or ought to be known to the Directors of Geden. Samsung Deutschland
recently got to know that different subsidiary companies of Geden sold or transferred a
number of vessel of a substantial value in its patrimony. The attached affidavit of Heon Joong
Jung clearly shows the negative financial situation of Geden and its inability to pay the debts
while the Consolidated Financial Statement of Geden and of its subsidiaries confirm that the Page | 3
liabilities exceed the value of the assets and the group has for the last years recorded a
serious and substantial financial loss;

For the above mentioned reasons the plaintiff company asks this Courts to:

    1.   Declare and decide that the defendant company Geden Holdings Limited is not in a
         position to pay its debts and consequentially orders the liquidation and on the basis
         of Article 99(2)(a) and 4(b) of the Merchant Shipping (Shipping Organizations ~
         Private Companies) Regulations 2004 (Legal Notice 223 of 2004); and

   2.    Gives any order conducive to the appointment of a Liquidator and to the liquidation
         of the company in accordance with the provisions and rules of the Merchant Shipping
         (Shipping Organizations — Private Companies) Regulations 2004 (Legal Notice 223
         of 2004).



With costs

Having seen the reply of the defendant company as follows:-

   1. That primarily it is in the humble understanding of the exponent, the plaintiff company
      has no right of the faculty to institute these proceedings at this time because it does
      not seem to qualify as a person who can file an application for winding up in terms of
      the dispositions of the Regulations regarding the Merchants Shipping (Organisation
      of Ships — Private Companies), subsidiary legislation 234.42 of the Laws of Malta and
      this for the following reasons:-
      a) That Regulation 100 of the said S.L. 234.42 specifically lists the persons who have
          the right to file an application for winding up of a company which qualifies as a
          “shipping organization” in terms of article 84Z of the Merchants Shipping Act,
          Chapter 234 of the Laws of Malta. For all intends and purposes this regulation is
          being reproduced hereunder:-

“An application for the court (hereinafter referred to as the “ application’”,) for the winding up
of a company shall be made by means of an application which may be made either by the
company or by any of its members or directors, or by any creditor having a debt due and
unpaid in excess of twenty-three thousand and two hundred and ninety-three euros and
seventy-three cents (23,293.73) or by all or any of them together or separately”.

         b) That   therefore   here   the   law   provides   that for the   alleged   creditor files an
             application for the winding up of a shipping organization it has to be sure that the
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       debt which is due of not less of the aforementioned stipulated in the said
       regulation.
       That in the humble understanding of the exponent for a credit of the applicant
       company to be considered as due, this debt has to be legally declared and
       pronounced by the said applicant from the defendant company.
       That it is good for one to make a comparison also with the corresponding Page | 4
       dispositions under the Companies Act, Chapter 384 of the Laws of Maita where
       the legislator give the right for the claim for winding up in the contest of the other
       Maltese companies which is a “creditor or creditors” of the defendant company.
       That the shipping organisations are subject to separate regime and different
       regulations from the other Maltese Companies and it is clear that the legislator
       here is to give the shipping organisations various other protections and fiscal
       advantages.
  f)   That in the context of the necessary requisites for the winding up procedure, it
       appears that those related to shipping organisations are more onerous than those
       other companies in the sense that the law specify that in the case of a shipping
       organisation the creditor would need to have a debt in order to proceed and at
       least the credit in question have to be confirmed by the Court or by a Tribunal.
       Therefore this Honourable Court has its hands tight and cannot simply proceed
       on the basis of a prima facie.
  9)   That furthermore it is said that the alleged claim of the plaintiff company Samsung
       C&T Deutschland GMBH on which basis the plaintiff company is making its claims
       arise from four (4) guarantees (Corporate Guarantees) signed by the defendant
       company in regards to the obligations of four (4) other entities under four (4)
       bareboat charterparties signed with the plaintiff company.
  h)   Notwithstanding the fact that the bareboat charterparties a well as the Corporate
       Guarantees are all subject to arbitration clauses which refer the parties for
       arbitration procedures in London, the plaintiff company have failed to proceed
       against the charterers and/or against the defendant company for the recovery of
       the alleged debt due to it before a competent forum and instead is immediately
       requesting the winding up of the defendant company.
       That the claim for the dissolution and winding up of the company is an exceptional
       measure in nature and which need to be resorted to as the last remedy and
       therefore these present proceedings can NEVER substitute the ordinary remedies
       which the creditors have to recover any alleged debt to them due.

. In any case this Court needs to verify the alleged claim of the applicant company is
  not time barred under the applicable    English law particularly when under the
  underling debt is the payment of leasing of the vessel and according to our law
  (specifically article 2148 (f) of Chapter (16) similar actions before the Maltese Courts
  can possibly be considered as time barred.

. Furthermore,    it is said that if this Honourable   Court decides to proceed   with the
  hearing of the cause (before the plaintiff would be confirmed as being creditor from a
  competent arbitration tribunal), there is a serious real and concrete danger that the
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  defendant company as well as other creditor which can be seriously prejudiced
  because the merit of the alleged claim are never going to be examined and
  scrutinized before a court or a competent tribunal.

. That for the sake of argument if this Honourable Court decides that the plaintiff have
  a right to file the application, it wouid still have to examine the evidence of the plaintiff Page | 5
  company and the weight of the said proof, particularly in the light of the fact that these
  proceedings were not instituted in virtue of a sworn application.

. That without any prejudice, it is being submitted that this Honourable Court have the
  power of discretion to order the struck off of the defendant company, and this in view
  of the fact of Regulation 99 (2) (a) of SL 234.42, where the law expressly states “a
  company may be dissolved and wound up by the Court.....” (emphasis of plaintiff
  company) and therefore it may not uphold the claim of the plaintiff company until it
  is not absolutely certain that the defendant company is in a state where it cannot
  repay its debts.

. That without any prejudice to the aforesaid, it is said that because the alleged credit
  of the plaintiff company is not awarded, this Honourable Court cannot proceed with
  these proceedings until there is a final decision from the arbitration which confirms
  that the plaintiff company is a creditor of the defendant company and inter alia in
  terms of article 742(3) of Chapter 12 and article 8 of the Convention on the
  Recognition       and   Enforcement   of   Foreign   Arbitral   Awards,(New     York   1958)
  amongst others.

. That in the humble opinion of the exponent, this Honourable Court cannot enter into
  the merits or make any examination of the alleged claim of the plaintiff company
  against the defendant company because these matters are subject to the agreement
  of arbitration.

. That therefore at the same time with this reply, the defendant company is filing also
  an application for the staying of or/ the suspension of these proceedings, pending the
  outcome of the final arbitration proceedings which the plaintiff company has to open
  against the defendant company.

  Having seen the records and heard the parties:

  Seen the proceedings are being adjourned to a decision.

  Considered

 This is a case based on articles 99 (2) (a) and 99 (4)(b) of the Merchant Shipping
 (Shipping Organisations - Private Companies) Regulations 2004 (Legal Notice
 223/2004).
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The plaintiff company is requesting the defendant company, debtor of the plaintiff
company not in a position to pay its debts therefore it is being requested the winding
up of the said company and for this reason for the appointment of a liquidator.

The relevant articles of the law in question states:-
                                                                                             Page | 6
99 (2) (a) a company may be dissolved and wound up by the Court when the company
is unable to pay its debts;

99 (4) (b) if it is proved to the satisfaction of the court that the company is unable to
pay its debts, account being taken also of contingent and prospective liabilities of the
company

On the basis of these articles the plaintiff company is alleging that it has a credit
against the defendant company and on the basis of the right giving in terms of article
100 of the same Legal Notice is requesting that the defendant company will be placed
into liquidation. Article 100 of the Legal Notice 223/2004 states:-

An application to the court (hereinafter referred to as the “ application”) for the
winding up of a company shall be made by means of an application which may be
made either by the company or by any of its members or directors, or by any creditor
having a debt due and unpaid in Rik 810/2016MC Samsung vs Geden 6 excess of
ten thousand Maltese liri or by all or any of them together or separately.

It is the understanding of the Court that contrary to what has been submittedby the
defendant company, the creditor need not bring evidence of the creditor awarded to
him from the defendant company to institute this action on the basis of article 99 (2)
(a) and 99 (4)(b). The law does not need that the creditor show the executive title or
the said credit but to appear that it is a credit which is due and not paid at the moment
this action is filed. The Court needs to be satisfied that there exists a credit and not
simply a claim of a credit which credit result from nowhere except from allegations
and claims of the alleged creditor. Any resulting evidence of credit The proof of the
credit which would result to the Court would give juridical interest to bring the action
primarily intended for the protectiion of the credit of the creditor against the assets of
the debtor, who would considered as not in a position to honour its debts. This is
being said because in this procedure the credit would not become executive or an
order for payment be made but the debtor would be put in a state of “winding up”.
The real credits due would be considered at a later stage not in this procedure. This
is the principle which is based on english law in the case for the liqudation of the
company in Mann vs Goldstein (1968 IWLR 1091) stated that :-

The incorporated hairdressing and wig business of two married couples broke down
in acrimony. Goldstein and his company petitioned for claiming unpaid directors fees
and payment for a wig delivery, but Mann argued that Godistein had recieved the
fees through ad hoc payments and another company owed money for the wigs.
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       Ungoed Thomas J. argued the petition was not the place to decide the debt actually
       existed and it would be an abuse of process to continue.



       Before the Court considers the request of the plaintiff, in the first place considers if
       any evidence was produced which shows that the plaintiff company has a credit Page | 7
       against the defendant company. The Court having seen the acts and the exhibited
       documents and arrives at the conclusion that this proof was made and superceds
       with alot the basis of the credit of €23,293.73 for which the creditor can make this
       claim. It appears from the records that the defendant company was a joint garantor
       for the various subsidiaries of the same company, and that the amounts due to the
       plaintiff company from these subsidiaries remained unpaid. The relevant documents
       are the corporate guarnatees (Doc. LCP 3A to LCP 3D) and the demand letter dated
       the 5th July 2016 (Doc. LCP5). The plaintiff company exhibited a statement of the
       amount due (Doc. LCP4). Fuirthermore, exhibited electronic corrispondence where
       the defendant company makes reference to the not so happy financial situation where
       it concerns payments (see in this sense fol. 76, 85 to 93 of the records of the
       proceedings. The defendant company from nowhere negates that there is a debt
       which is due and the amount is not contested.

       In the light of all this it is the understanding of the Court that the plaintiff company
       have shown that it has a credit of a substantial amount against the defendant
       company.

       The plaintiff company has also to prove that the defendant company is not in a
       position to pay its debts. In legal terms, this Court have taken note from what is cited
       in article 214 (5)(b) of Chapter 386 regarding the of the companies identical to article
       99 (4)(b) of the Legal Notice 223/2004.

              If it is proven to the satisfaction of the court that the company cannot pay its
              debts, when it considers also the passive contingencies and prospects of the
              company.

In the case CMV S.p.a vs Vittoriosa Gaming Ltd et (PA 28/02/2017, JZM), the court went
into a lot of detail regarding the meaning which needs to be given to this article



In PaGE 114 of the Fourth Edition (2011) of the Principles of Corporate Insoivency Law
(Sweet & Maxwell) Roy Goode says this —



 — The idea underlying this test ... is that it is not sufficient for the company to be able to
meet its current obligations if its total liabilities can ultimately be met only by the realisation
of its assets and these are insufficient for the purpose ...
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On Page 130 proceeds — The mere excess of liabilities over assets is not in itself
determinative. What has to be shown is that by reason of the deficiency of its assets the
company has reached the point of no return.

From Page 134 tp 136, the author treats the notion of novation of contingent liability and
states this    — To give the phrase “contingent liability’ any meaning we must restrict it to a Page | 8
liability or other loss which arises out of an existing legal obligation or state of affairs but
which is dependent on the happening of an event which may or may not occur. Many of the
cases have stressed the need for the liability to arise out of an existing obligation. ... in
considering whether there is a contingent liability the court has regard to the existing
commercial situation, not merely an existing legal obligation. in this regard, assistance can
be derived from Financial Reporting Standard 12 which defines a contingent liability in the
following terms :

(a) “A possible obligation that arises from past events and whose existence will be confirmed
only by the occurrence or non-occurrence of one or more uncertain future events not wholly
within the entity's control or

(b) a present obligation that arises from past events but is not recognised because:

 (i) it is not probable that a transfer of economic benefits will be required to settle the
obligation ; or

(ii) the amount of the obligation cannot be measured with sufficient reliability.” ... the term
“contingent liabilities" is ultimately not a term of art and its precise meaning will depend on
its context. The court is thus entitled to have regard to commercial realities ...

On Pages 136 to 137, the author treats the novation of the prospective liability and states
this —

beeaeee The phrase “prospective liability” is neither a legal nor an accounting term of art. It has
been judicially defined as : “ ... a debt which will certainly become due in the future, either
on some date which has already been determined or some date determinable by reference
to future events.” ... it has been described ... as unmatured liability which will inevitably ripen
into a debt with the passage of time. Such a definition encompasses all forms of debitum in
praesenti, solvendum in futuro including an indisputable claim for unliquidated damages
which remains only to be quantified and will result in a debt far more than a nominal amount.
“Prospective liability” thus embraces both future debts, the sense of liquidated sums due,
and unliquidated claims.



Regarding Article 214(5)(b) the Court, differently presided, (PA/GV) in its judgement of the
28th May 2003 in the case “Axel John International AB vs Aluminium Extrusions
Limited”, said this :-

This condition can be verified by balance sheets after being considered if the assets are less
than its liabiliites. But, it is not sufficient for the company to be abie to meet its current
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obligations if its total liabilitis can ultimately be met only by the realisation of its assets over
a lengthy period (Re: European Life Assurance Society 1869 LR Eq 122).

Therefore there is no reason why the creditors have to wait until the company sell its assets
perhaps that they might someday get paid.
                                                                                                       Page | 9


Applying these principles to the facts, the Court considers that the said proof, in the first
place has to be made from the alleging party . The plaintiff company filed the consolidated
financial statements of the Company Geden for the years 2012 to 2015. In 2014 and 2015
there is a grey picture of the finances of Geden which results in the loss for the period of
January to December 2015 of USD 194,173,929 against the assets of USD 124,946.87.
The Court considers that this evidence shows that the defendant company being the joint
guarantor of the debt of its subsidiaries is not in a position to honour its payments because
it has no liquid assets or profits from its operations to make good for this purpose.



Once the plaintiff company      have given a clear picture of the financial situation of the
defendant company, it is up to the defendant company to show its financial state that it can
continue to operate and pay its debts due to the plaintiff company as well as to its other
creditors. Unfortunately, notwithstanding the fact that the defendant company was given the
opportunity to bring foward its evidence, this was not done and no evidence was forthcoming
by the defendant company which conflicts with what has been already produced by way of
evidence regarding its financial by the plaintiff company.

The Court is aware that the winding up of a company as a remedy is one of a exceptional
nature and is to be considered in great caution and therefore article 99(2)(b) give the Court
the discretion whether to consider this or not. However, in this case the evidence does not
give a choice to the Court , taken into account the precarious state of the financial affairs of
the defendant company and aiso not even tried to counter act to the evidence brought
against it. The Court obviously is not considering the credit of the plaintiff company as one
which is has been rendered executive. The procedure for this purpose is different. The
proceedings in question are only aimed to start the procedure of winding up of the defendant
company and the preservation of the assets of the same company for the creditors and also
for the shareholders themselves.

The Court considers the pleas of the defendant company that the agreement of guarantee
of the defendant company is subject to arbitration in London as unfounded. The question
before the Court is not whether to consider the guarantee but if whether the defendant
company registered in Malta is capable to pay the debts secured by the guarantee.



To conclude this Court already expressed itself on the request for the stay of proceedings
in virtue of a decree of the 11th January 2017.
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Decides

Therefore the Court decides to uphold the requests of the pliantiff company and declare that
the defendant company      is not in a position to pay its debts and order to proceed for the
dissolution and winding up off of the said defendant company in terms of articles 99 (2)(a)
and 99 (4)(b) of the Legal Notice 223/2004.                                                 Page | 1(

Order to nominate Paul Darmanin as the liquidator with all the rights and obligaitons in terms
of article 107 to 116 of Legal Notice 223/2004. Costs including the fees and costs of the
liquidator, as well as the costs of the struck off are to be paid by the defendant company.

Order the Registrar of Courts to send a copy of this decision to the Registrar of Shipping
and to the Registrar of Companies.



Onor Mark Chetcuti LL.D

Judge

                                                          Tue Copy
                                                          Date 12/10/2023
                                                          __ signed
                                                          Rose Marie Vella
                                                          Deputy Registrar
(signed)

Anne Xuereb

Deputy Registrar




22nd April, 2025

| the undersigned hereby confirm that | am proficient in the English and Maltese languages
and | hereby certify this English translation to be a faithful translation of the certified copy of
         jement in Maltese Language done to the best of my ability.



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                                    EXHIBIT B




4930-9512-5563, v. 2
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                                           First Hall Civil Court


                                 Hon. Judge Miriam Hayman B.A. LL.D.


                                      Application number 810/2016 MCH


                                      Samsung C&T Deutschland GmbH
                                      Vs
                                      Geden Holdings Limited




The Court,

Saw the application:

Accedes to the request and nominates for the same purposes Dr. Reuben Balzan.


Today, 4°. December 2023.


(Signed)
Deputy Registrar




| Rose Marie Vella
 Deputy Registrar
 Courts of Justice (Malta)
 Law Courts (Malta)
       Case 25-90138 Document 1 Filed in TXSB on 04/28/25 Page 30 of 33




15" day of April, 2025


| the undersigned hereby confirm that | am proficient in the English and Maltese
languages and | hereby certify this English translation to be a faithful translation of the
Court Decree of the 12". September 2018 in Maltese language done to the best of my
ability.




                            me




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          Case 25-90138 Document 1 Filed in TXSB on 04/28/25 Page 31 of 33




                                    EXHIBIT C




4930-9512-5563, v. 2
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